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 5
     Attorney for Defendant
     JORDAN WIRTZ
 6
                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                       )       No. CR-S-11-226 GEB
 9
                                                     )
                                                     )
10          Plaintiff,                               )       STIPULATION AND
                                                     )       [PROPOSED ORDER] CONTINUING
11
     v.                                              )       STATUS CONFERENCE
                                                     )
12
     PATRICIA ALBRIGHT, and                          )
                                                     )       Date: May 18, 2012
13   JORDAN WIRTZ,                                   )       Time: 9:00 a.m.
                                                     )       Judge: Honorable Garland E. Burrell, Jr.
14
            Defendants.                              )
                                                     )
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                                                     )
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17
            IT IS HEREBY stipulated between the United States of America through its undersigned

18
     counsel, Michael M. Beckwith, Assistant United States Attorney, together with counsel for

19
     defendant Patricia Albright, Timothy Zindel, Esq., and counsel for defendant Jordan Wirtz,

20
     John R. Manning, Esq., that the status conference presently set for April 20, 2012, be continued

21
     to May 18, 2012, at 9:00 a.m., thus vacating the presently set status conference.

22
            Further, all of the parties, the United States of America and all of the defendants as stated

23
     above, hereby agree and stipulate that the ends of justice served by the granting of such a

24
     continuance outweigh the best interests of the public and the defendants in a speedy trial and that

25
     time under the Speedy Trial Act should therefore be excluded under Title 18, United States Code

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     Section 3161(h)(7)(A) and (B)(ii) and (iv) and Local Code T-4 (to allow defense counsel time to

27
     prepare) from the date of the parties stipulation, April 19, 2012, to and including May 18, 2012.

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 1   The defense requests more time to review materials seized by the IRS, review discovery and
 2   conduct investigation.
 3

 4   IT IS SO STIPULATED.
 5

 6   Dated: April 17, 2012                                          /s/ Timothy Zindel
                                                                    TIMOTHY ZINDEL
 7                                                                  Attorney for Defendant
                                                                    Patricia Albright
 8

 9   Dated: April 16, 2012                                           /s/ John R. Manning
                                                                    JOHN R. MANNING
10                                                                  Attorney for Defendant
11
                                                                    Jordan Wirtz

12

13   Dated: April 18, 2012                                          Benjamin B. Wagner
14
                                                                    United States Attorney

15                                                          by:     /s/ Michael M. Beckwith
                                                                    MICHAEL M. BECKWITH
16
                                                                    Assistant U.S. Attorney
17

18
                                                   ORDER
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            The Court, having received, read, and considered the stipulation of the parties, and good
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     cause appearing therefrom, adopts the stipulation of the parties in its entirety as its order. Based
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     on the stipulation of the parties and the recitation of facts contained therein, the Court finds that
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     it is unreasonable to expect adequate preparation for pretrial proceedings and trial itself within
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     the time limits established in 18 U.S.C. § 3161. In addition, the Court specifically finds that the
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     failure to grant a continuance in this case would deny defense counsel to this stipulation
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     reasonable time necessary for effective preparation, taking into account the exercise of due
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     diligence. The Court finds that the ends of justice to be served by granting the requested
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     continuance outweigh the best interests of the public and the defendants in a speedy trial.
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 1                         The Court orders that the time from the date of the parties' stipulation, April 19, 2012, to
 2   and including May 18, 2012, shall be excluded from computation of time within which the trial
 3   of this case must be commenced under the Speedy Trial Act, pursuant to 18 U.S.C. §
 4   3161(h)(7)(A) and (B)(ii) and (iv), and Local Codes T4 (reasonable time for defense counsel to
 5   prepare). It is further ordered that the April 20, 2012, status conference shall be continued until
 6   May 18, 2012, at 9:00 a.m.
 7
     IT IS SO ORDERED.
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     Date: 4/19/2012
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10                                                                        _________________________
                                                                          GARLAND E. BURRELL, JR.
11
                                                                          United States District Judge
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13   DEAC_Signature-END:




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